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                                                                                           EXHIBIT


                            UNITED STATES DISTRICT COURT                                     4
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,                        )
      et al.,                                     )
                                                  )
        Plaintiffs,                               )
                                                  )
v.                                                )   No. 2:22-cv-00184-LCB-SRW
                                                  )
KAY IVEY, in her official capacity                )
as Governor of the State of Alabama,              )
     et al.,                                      )
                                                  )
        Defendants.                               )

                        DECLARATION OF QUENTIN L. VAN METER, M.D.

        My name is Quentin L. Van Meter. I am over the age of 19, I am qualified to give this

declaration, and I have personal knowledge of the matters set forth herein.

        My CV is attached to this declaration. My recent publications in the Journal of Clinical

Endocrinology and Metabolism are listed on my CV.

        In the past four years, I have provided expert testimony in state legislative committee

hearings in Alabama, Pennsylvania, Missouri, Iowa, and California, and I have been deposed as

an expert witness in Virginia, Ohio, Missouri, and Georgia:

    2018: Court of the Queens Bench Ontario, court file 1808-00144, deposed
    2018: Sieffert v Hamilton Co Ohio, court testimony
    2019: Gavin Grimm v Gloucester Co Virginia School Board, deposed
    2019: Multiple Plaintiffs v State of Ohio Bureau of Records, deposed
    2020: Loughman v Loughman, Harris County, Texas, deposed
    2021: Spahr v Spahr, St Louis County, MO, court testimony
    2021: Laura Cauthen v James Cauthen, Cobb County GA, court testimony

        I am compensated at the rate of $350.00 per hour for record review and document

preparation and $450.00 per hour for deposition or court testimony on this matter. My

compensation is not dependent upon the substance of my opinions or the outcome of the case.

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                                          Qualifications

       I have been retained by counsel for Defendants as an expert in connection with the

above-captioned litigation. I have actual knowledge of the matters stated in this declaration. My

professional background, experience, and publications are detailed in my curriculum vitae. A

true and accurate copy is attached as Exhibit A to this declaration. I received my B.A. in Science

at the College of William and Mary and my M.D. from the Medical College of Virginia, Virginia

Commonwealth University. I am currently a pediatric endocrinologist in private practice in

Atlanta, Georgia. I am the President of Van Meter Pediatric Endocrinology, P.C. I am on the

clinical faculties of Emory University School of Medicine and Morehouse College of Medicine,

in the role of adjunct Associate Professor of Pediatrics. I am board certified in Pediatrics and

Pediatric Endocrinology. I have been licensed to practice medicine in Georgia since 1991. I have

been previously licensed to practice medicine in California, Louisiana, and Maryland.

       I did my Pediatric Endocrine fellowship at Johns Hopkins Hospital from 1978-1980. The

faculty present at that time had carried on the tradition of excellence established by Lawson

Wilkins, M.D. Because of the reputation of the endocrine program as a center for exceptional

care for children with disorders of sexual differentiation, I had well-above average exposure to

such patients. As a Pediatric Fellow, I was also exposed to adults with Gender Identity Disorder,

then called Trans-Sexuality, and received training from John Money, Ph.D., in his

Psychohormonal Division.

                                   Differentiation in the Fetus

       From the moment of conception, a fetus is determined to be either a male (XY), female

(XX), or in rare cases, to have a combination of sex-determining chromosomes, many of which

are not compatible with life, and some of which are the cause of identifiable clinical syndromes.



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The presence of a Y chromosome in the developing fetus directs the developing gonadal tissue to

develop as a testicle. The absence of a functional Y chromosome allows the gonadal tissue to

develop as an ovary. Under the influence of the mother’s placental hormones, the testicle will

produce testosterone which directs the genital tissue to form a penis and a scrotum.

Simultaneously, the testicle produces anti-Müllerian Hormone (AMH) which regresses

development of the tissue that would otherwise develop into the uterus, fallopian tubes, and

upper third of the vagina. This combination of actions in early fetal development is responsible

for what we subsequently see on fetal sonograms, and what we observe at birth as male or female

genitalia. It is only when the genital structures are ambiguous in appearance that sex assignment

is withheld until a thorough expert team evaluation has occurred.

       For reasons most often occurring as random events, there are malfunctions of the normal

differentiation. These aberrations of normal development are responsible for what we classify as

Disorders of Sexual Differentiation (DSD), and they represent a very small fraction of the human

population. The incidence of such circumstances occurs in 1:4500 to 1:5500 births.1 Sex is

binary, male or female, and is determined by chromosomal complement and corresponding

reproductive role. The exceedingly rare DSDs are all medically identifiable deviations from this

sexual binary norm. The 2006 consensus statement of the Intersex Society of North America and

the 2015 revision of the Statement do not endorse DSD as a third sex.2 DSD outcomes range

from appearance of female external genitalia in an XY male (complete androgen insensitivity

syndrome) to appearance of male external genitalia in an XX female (severe congenital adrenal

hyperplasia).

       As one would expect, there are variations of the degree of hormonally driven changes

that create ambiguous genital development that prevent assigning of a specific classification as



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either male or female at birth. DSD patients are not “transgender”; they have an objective,

physical, medically verifiable, physiologic condition. Transgender people generally do not have

intersex conditions or any other verifiable physical anomaly. People who identify as “feeling like

the opposite sex” or “somewhere in between” do not comprise a third sex. They remain

biological men or biological women.

       In some DSDs there exist more than one set of chromosomes. When there is a divergence

of the appearance of the external genitalia from the chromosomally determined sex due to the

presence of both an ovarian and testicular cell lines in a patient simultaneously, the patient is

classified as having ovo-testicular DSD (formerly termed a true hermaphrodite). When there is a

disruption in the development of genital structures but there is solely testicular tissue present in

the chromosomal male or solely ovarian tissue in the chromosomal female, the term 46 XY DSD

or 46 XX DSD is used instead respectively (formerly termed male pseudohermaphrodite or

female pseudohermaphrodite).

       The decision to assign a sex of rearing is complex and is specific to the diagnosis.

Patients with complete androgen insensitivity (CAIS) are XY DSD but are never reared as a

male. Because testosterone never influences development, they become happy, functional female

adults with infertility. Females with severe congenital adrenal hyperplasia (CAH) are XX DSD

but are not reared as males despite the male appearance of the genitalia at birth. Although these

girls may show a tendency for male play behaviors as children, they generally assume a female

sexual identity. Therapeutic interventions in the DSD individuals from infancy onward are aimed

at what function can be expected from their disordered sexual anatomy in terms of function and

fertility. Most often, the chromosomal sex aligns with the sex of rearing.




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                                         Gender Identity

       “Gender” is a term that refers to the psychological and cultural characteristics associated

with biological sex. It is a psychological concept and sociological term, not a biological one. The

term gender possessed solely a linguistic meaning prior to the 1950s. This changed when

sexologists of the 1950s and 1960s co-opted the term to conceptualize cross-dressing and

transsexualism in their psychological practice. “Gender identity” is a term coined by my former

endocrine faculty member John Money in the 1970s and has come to refer to an individual’s

mental and emotional sense of being male or female. The norm is for individuals to have a

gender identity that aligns with one's biological sex.

       Gender discordance (formerly Gender Identity Disorder) is used to describe a

psychological condition in which a person experiences marked incongruence between his

experienced gender and the gender associated with his biological sex. He will often express the

belief that he is the opposite sex. Gender discordance occurs in 0.001% of biological females and

in 0.0033% of biological males.3 Exact numbers are hard to document since reporting is often

anecdotal. Gender discordance is not considered a normal developmental variation.

       “Gender Dysphoria” is a diagnostic term to describe the emotional distress caused by

gender incongruity.4 John Money played a prominent role in the early development of gender

theory and transgenderism. He understood gender to be “the social performance indicative of an

internal sexed identity.”5 He joined the Johns Hopkins faculty in 1951 specifically to have access

to children diagnosed with DSD, hoping to prove his theory that gender was arbitrary and fluid.

Money experimented with DSD infants by assigning them to the opposite biological sex through

surgical revision, counseling, and hormonal manipulation during puberty. His mode of operation

was to have a theory and then experiment with patients to see how his theory worked. This kind



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of endeavor does not anticipate or prevent adverse outcomes and is the antithesis of ethical

science. Money never submitted his research proposals for review; today, Institutional Review

Boards (IRBs) serve to rigorously review proposed clinical research protocols to prevent all

potential and real harm to patients.

       Because of his experience with infants, Money initially garnered support from endocrine

colleagues and surgical colleagues, and Johns Hopkins became a renowned center for care of

patients with DSD in the 1970s, garnering referrals from around the world. Follow-up studies on

these infants later showed, however, that altering their natal sexual identity via social

intervention could lead to severe psychological harm. Clinical case reports of children with DSD

have revealed that gender identity is indeed not immune to environmental input.6

       Meanwhile, Money had expanded into the field of adult patients with persistent gender

identity disorder. This very small group of patients chose voluntarily, as adults, to enter a very

precise protocol which began with living socially as the opposite sex for a year, eventually

receiving hormonal therapy to change their physical appearance to some extent. The final step

was surgical revision of the body structures that would otherwise be at odds with their desired

gender. This small group of patients was followed for a number of years past their final surgical

procedures and required continuous counseling. These patients expressed some degree of

subjective satisfaction but showed no objective improvement in overall wellbeing.7 The legacy

of John Money fell into disrepute and the transsexual treatment program at Johns Hopkin was

closed in the 1980s based on the lack of evidence that this protocol produced an effective cure.

                                  Etiology of Gender Disorders

       Transgender affirming professionals claim transgender individuals have a "feminized

brain" trapped in a male body at birth and vice versa based upon various brain studies. Diffusion-



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weighted MRI scans have demonstrated that the pubertal testosterone surge in boys increases

white matter volume. A study by Rametti and colleagues found that the white matter

microstructure of the brains of female-to-male (FtM) transsexual adults, who had not begun

testosterone treatment, more closely resembled that of men than that of women.8 Other diffusion-

weighted MRI studies have concluded that the white matter microstructure in both FtM and

male-to-female (MtF) transsexuals falls halfway between that of genetic females and males.9

These studies, however, are of limited clinical significance due to the small number of subjects

and failure to account for neuroplasticity.

       Neuroplasticity is the well-established phenomenon in which long-term behavior alters

brain microstructure. For example, the MRI scans of experienced cab drivers in London are

distinctly different from those of non-cab drivers, and the changes noted are dependent on the

years of experience.10 There is no evidence that people are born with brain microstructures that

are forever unalterable, but there is significant evidence that experience changes brain

microstructure.11,12 Therefore, any transgender brain differences would more likely be the result

of transgender behavior than its cause.

       Furthermore, infants’ brains are imprinted prenatally by their own endogenous sex

hormones, which are secreted from their gonads beginning at approximately eight weeks’

gestation.13,14,15 There are no published studies documenting MRI-verified differences in the

brains of gender-disordered children or adolescents. The DSD guidelines also specifically state

that current MRI technology cannot be used to identify those patients who should be raised as

males or raised as females.16 Behavior geneticists have known for decades that while genes and

hormones influence behavior, they do not hard-wire a person to think, feel, or behave in a

particular way. The science of epigenetics has established that genes are not analogous to rigid



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“blueprints” for behavior. Rather, humans “develop traits through the dynamic process of gene-

environment interaction. ... [genes alone] don't determine who we are.” 17

       Regarding transgenderism, twin studies of adults prove definitively that prenatal genetic

and hormone influence is minimal. The largest twin study of transgender adults found that only

20 percent of identical twins were both transgender-identified.18 Since identical twins contain

100 percent of the same DNA from conception and develop in exactly the same prenatal

environment exposed to the same prenatal hormones, if genes and/or prenatal hormones

contributed to a significant degree to transgenderism, the concordance rates would be close to

100 percent. Instead, 80 percent of identical twin pairs were discordant. This difference would

indicate that at least 80 percent of what contributes to transgenderism as an adult in one co-twin

consists of one or more non-shared post-natal experiences including but not limited to non-

shared family experiences. These findings also mean that persistent GD is due predominately to

the impact of nonshared environmental influences. These studies provide compelling evidence

that discordant gender is not hard-wired genetically.

                       Gender Dysphoria vs. Gender Identity Disorder

       Up until the recent revision of the DMS-IV criteria, the American Psychological

Association (APA) held that Gender Identity Disorder (GID) was the mental disorder described

as a discordance between the natal sex and the gender identity of the patient. Dr. Kenneth

Zucker, who is a highly respected clinician and researcher from Toronto, carried on evaluation

and treatment of GID patients for forty years. His works, widely published, found that the vast

majority of boys and girls with GID identify with their biological sex by the time they emerge

from puberty to adulthood, through either watchful waiting or family and individual

counseling.19 His results were mirrored in studies from Europe.20,21



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       When the DMS-V revision of the diagnosis of GID was proposed by the APA committee

responsible for revision, Dr. Zucker strongly opposed the change to the term Gender Dysphoria,

which purposefully removed gender discordance as a mental disorder apart from the presence of

significant emotional distress. With this revision, Gender Dysphoria describes the mental

anguish which is experienced by the gender discordant patient. The theory that societal rejection

is the root cause of Gender Dysphoria was validly questioned by a study from Sweden which

showed that the dysphoria was not eliminated by hormones and sex reassignment surgery even

with widespread societal acceptance.22

                                Treatment of Gender Dysphoria

        The treatment of children and adolescents with gender discordance and accompanying

gender dysphoria should include an in-depth evaluation of the child and family dynamics. This

evaluation provides a basis on which to proceed with psychologic therapy. The entire biologic

and social family should be involved in psychological therapy designed to assist the patient, if at

all possible, to align gender identity with natal sex. Psychological support by competent

counselors with an intent of resolving the gender conflict should be provided as long as the

patient continues to suffer emotionally. Given the high degree of eventual desistance of gender

discordance/dysphoria by the end of puberty, it would be ethical and logical to counsel the

patient and family to rear the child in conformity with natal sex.

       There should be no interruption of natural puberty. Natural pubertal maturation in

accordance with one’s natal sex is not a disease. It is designed to carry malleable, immature

children forward to be healthy adults capable of conceiving their own progeny. Puberty affects

physical changes, some of them painful, unique to the natal sex to reflect the laws of nature.

Interruption of puberty has been reserved for children who begin puberty at an age much



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younger than normal in an effort to preserve final height potential and avoid the social

consequences of precocious maturation.

       There are a number of physical changes that are a consequence of normally timed puberty

that could be classified as disadvantageous: changes in body proportions can alter success with

dance and gymnastics; acne can be severe and disfiguring; a boy soprano can suddenly hardly

carry a tune. It has not been the ethical standard of care to stop puberty so that these changes can

be circumvented. Erikson described the stage of adolescence as "Identity versus Role Confusion"

during which the teen works at developing a sense of self by testing roles then integrating them

into a single identity.23 This process is often unpleasant regardless of the presence or absence of

gender identity conflicts. The major benefit of enduring puberty in a GD patient is that it

provides a strong likelihood of alignment of his gender identity with his natal sex. There is no

doubt that these patients need compassionate care to get them through their innate pubertal

changes.

       The light at the end of the tunnel is the proven scientific evidence that 80%- 95% of pre-

pubertal children with GD will come to identify with their biological sex by late adolescence.

Some will require lifelong supportive counseling while others will not.24 Intervention at a young

age with gonadotropin releasing hormone analogs (often referred to as puberty blockers) to either

stop puberty early on or prevent it from starting before it naturally occurs is suggested by

guidelines developed by WPATH without scientific basis. There is evidence that bone mineral

density is irreversibly decreased if puberty blockers are used during the years of adolescence.25

To treat puberty as a pathologic state of health that should be avoided by using puberty blockers

(GnRH analogs) is to interrupt a major necessary physiologic transformation at a critical age

when such changes can effectively happen. We have definite evidence of the need for estrogen in



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females to store calcium in their skeleton in their teen years. That physiologic event can’t be put

off successfully to a later date. It is very difficult to imagine ethical controlled clinical trials that

could elucidate the effects of delaying puberty until the age of consent.

        The use of cross-sex hormones during this same time frame has no basis of safety and

efficacy. The use of such treatment in adults raises scientifically valid concerns that were amply

expressed in the 2009 Endocrine Society Guidelines on Transgender treatment. The next step in

WPATH-recommended intervention is to use cross-sex hormone therapy during the time when

the patient would naturally be experiencing endogenous pubertal changes. This too is not based

on scientifically proven theories. The use of cross-sex hormones can cause permanent

infertility.26

        The final recommended step is so-called “sex reassignment surgery,” which can include

surgical removal of the breasts in natal females, or removal of the penis and scrotum in natal

males. Each of these steps has adverse outcomes, some reversible and others not. Mastectomies

leave scars, and there is great difficulty in creating a functional vaginal-like orifice, and certainly

no success in creating an innervated erectile penis where none existed previously. Sex

reassignment surgery is, by nature, permanent.

                         Recurrent Themes in the Plaintiff Declarations

        Puberty blockers are stated to be completely reversible in their effects on the adolescent

who has entered puberty based on clinical studies in young children with precocious puberty who

have been treated with these drugs. This is comparing apples to oranges. Precocious puberty, by

definition, is defined as puberty which starts before the 8th birthday for a female child or the

before the 9th birthday in a male child. The end of treatment is carefully timed so that resumption

of puberty occurs at the average age for females (10.5 years) and males (11.5 years). This allows



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the necessary functions of puberty to prepare the body for reproduction and affects the bones,

gonads, and brain, among other body systems. On the other hand, blocking puberty at the age of

normal puberty prevents the needed accretion of calcium into the skeleton and prevents the

maturation of the gonads. There is no long-term data that compares bone, gonad, and brain health

in pubertal-aged patients who have had puberty interrupted and those who have not, as was noted

as a concern in the Endocrine Society Guidelines. There are no such ongoing studies completed

that guarantee the full reversibility of blocking puberty in this age group, but there is evidence

that normal bone density can’t be fully reestablished. Without any verifiable safety data, using

the puberty blockers for interrupting normal puberty is not a sanctionable off-label use of these

drugs and is therefore to be considered uncontrolled, non-consentable experimentation on

children.

       It has been stated that the plaintiffs are only asking that established standards of care be

followed. There are no standards of care for transgender health. Standards of care established by

broad consensus are reached by inclusion of the whole spectrum of opinions, clinical experience

and published science in the formation thereof. The guidelines published by WPATH,27 the

Endocrine Society,26,28 the American Academy of Pediatrics,29 and the Pediatric Endocrine

Society30 are solely the opinions of like-minded practitioners who excluded any contrary

opinion. The Endocrine Society Guidelines, as mentioned before, clearly stated that they are not

to be considered standards of care. Before true consensus-driven standards of care are established

for the treatment of transgender patients of all ages, following the current guidelines is risky

experimentation.

       The plaintiff declarations repeatedly refer to the established increased risk of suicide if

any of the affirmation strategies are not followed to completion. There are only two total



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population studies in the peer-reviewed medical literature.22'3" They show that when every

recorded case in the population of Sweden was analyzed, neither medical affirmation or medical

affirmation followed by surgical affirmation improved the mental health of the patients in the

long run.

       Finally, I am curious about the clear lack of documentation of references in the plaintiffs'

declarations. They are merely stating their personal opinions without supporting evidence and

relying on anecdotal case reports.




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on       1               ' 2022.




                                             Quentin L. Van Meter, M.D.




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Atlanta, Georgia 30318

PERSONAL

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       Home Phone:

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       Citizenship:                     USA


EDUCATION:

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                                        M.D. – 1973

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       Hospital:                        Naval Regional Medical Center, Oakland
       Position:                        Pediatric Intern – 1973 – 1974
                                        Pediatric Resident – 1974 – 1976

       Institution:                     Johns Hopkins University
       Hospital:                        Johns Hopkins Hospital
       Position:                        Fellow, Pediatric Endocrinology 1978 – 1980
                                           Fellowship Program Director: Claude Migeon, M.D.

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       American Board of Pediatrics, certified in general pediatrics, 1978, sub-board certified
       in Pediatric Endocrinology, 1983




                                     Quentin L. Van Meter, M.D.
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       Fellow:        American Academy of Pediatrics, Georgia Chapter 1975 -present
                      President, Uniformed Services West Chapter, 1987 – 1990
                      District VIII member, AAP Committee on Awards for
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                      Editor, The Georgia Pediatrician, 1994 – 1998

                      Chairman, Georgia Chapter Legislative Committee, 1996 – 2006

       Fellow:        The American College of Pediatricians, 2007 – present
                      Member of the Board of Directors, 2008- present
                      President, 2018-present

       Member:        Pediatric Endocrine Society, 1989 – present

       Member:        American Diabetes Association Professional Section, 1988 – present

       Member:        Endocrine Society, 1994-present

       Member:        Southern Pediatric Endocrine Society, 1992 – Present

       Member:        American Association of Clinical Endocrinologists, 2005 – present

       Licensure:     Georgia, #34734

FACULTY POSITIONS:
     Institution: Morehouse School of Medicine
     Position:    Associate Clinical Professor, Pediatrics, 2004 – present

       Institution:   Emory University School of Medicine
       Position:      Adjunct Associate Professor, Pediatrics, 1991 – present

       Institution:   University of California, San Francisco
       Position:      Associate Clinical Professor, Pediatrics, 1989 – 1991

       Institution:   University of California, San Diego, School of Medicine
       Position:      Assistant Clinical Professor, Pediatrics, 1980 – 1986

       Institution:   LSU School of Medicine, Clinical Instructor, Pediatrics, 1977 – 1978

MILITARY SERVICE:

       Commission: Medical Corps, United States Navy, August 1971
       Rank:          Captain, retired
       Duty Stations: Health Professional Scholarship Student, 1971 – 1974

                      Intern and Resident, Pediatrics, Naval Regional Medical Center,
                      Oakland, 1973 – 1976

                      Staff Pediatrician, Naval Regional Medical Center,
                      Oakland, 1976

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                     Staff Pediatrician, Naval Regional Medical Center,
                     New Orleans, 1976 – 1978

                     Full time out-service fellow in Pediatric Endocrinology,
                     Johns Hopkins Hospital, 1978 – 1980

                     Staff Pediatric Endocrinologist, Naval Hospital San Diego,
                     1980 – 1986

                     Chairman and Director, Residency Training, Department of Pediatrics
                     Naval Hospital Oakland, 1986 – 1991

OTHER PROFESSIONAL ACTIVITIES:



     Consultant, Pediatric Endocrinology,
     Nellis Air Force Base Hospital, Las Vegas, Nevada
     1981 – 1991

     Consultant, Pediatric Endocrinology,
     Naval Hospital Lemoore, CA
     1986 – 1991

     Consultant, Pediatric Endocrinology,
     Letterman Army Medical Center, Presidio of San Francisco, CA
     1990 – 1991

     Consulting Endocrinologist,
     Columbus Regional Medical Center, Columbus, GA
     1991 – 1994

     Pediatrician and Pediatric Endocrinologist, partner
     Fayette Medical Clinic
     Peachtree City, Georgia 30269
     September 1991 – October 2003

     Pediatric Endocrinologist Peer Reviewer           2006 – present
             MCMC, LLC, Boston, MA
             IMEDECS, Lansdale PA


     Speaker’s Bureau
            Novo Nordisk
     AAP Eqipp course on Growth- development committee- 2012




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PUBLICATIONS: (Articles in Peer Reviewed Journals)


                     Riddick, JR, Flora R., Van Meter, QL:
                     “Computerized Preparation of Two-Way Analysis of Variance
                     Control Charts for Clinical Chemistry,” Clinical Chemistry,
                     18:250, March 1972.

                     Van Meter, QL, Gareis FJ, Hayes, JW, Wilson, CB:
                     “Galactorrhea in a 12 Year Old Boy with Chromophobe Adenoma,”
                     J. Pediatrics 90:756, May 1977.

                     Plotnick, LP, Van Meter, QL, Kowarski, AA, “Human Growth Hormone
                     Treatment of Children with Growth Failure and Normal Growth
                     Hormone Levels by Immunoassay: Lack of Correlation with
                     Somatomedin Generation: Pediatrics 71:324, March 1983.

                     Brawley, RW, Van Meter, QL, “Mebendazole Ascaris Migration,” W.J.
                     Med, 145:514015, October 1986.

                     Van Meter, QL, “The Role of the Primary Care Physician in Caring for
                     Patients with Type-1 Diabetes,” Comp Ther 1998; 24(2):93–101

                     Midyett LK, Rogol AD, Van Meter QL, Frane J, and Bright GM,
                     “Recombinant Insulin-Like Growth factor (IGF)-I Treatment in Short
                     Children with Low IGF-I Levels: First-Year Results from a Randomized
                     Clinical Trial,” J Clin Endocrinol Metab, 2010;95:611–619.

                     Laidlaw MK, Van Meter QL, Hruz PW, Von Mol A, and Malone WJ,
                     Letter to the Editor: “Endocrine Treatment of Gender-Dysphoric/Gender-
                     Incongruent Persons: An Endocrine Society Clinical Practice Guideline,”
                     J CLin Endo Metab 2019;104: 1-2.

                     Van Meter QL, Bringing Transparency to the Treatment of Transgender
                     Persons, Issues in Law and Medicine 2019:34;147-152.

                     Laidlaw, MK Von Mol A,Van Meter Q, and Hansen JE, Letter to the
                     Editor from Laidlaw et al: “erythrocytoisis in a large cohort of
                     thansgender Men using testosterone: a long-term follow-up study on
                     prevalence, determinants, and exposure years” J Clin Endocrinol Metab,
                     2021 December 2021, e5275-35276 Https://doi/10.1210/clinem/dg ab514




ABSTRACTS/LETTERS:

                     Van Meter,Q L, & Lee, PA: “Evaluation of Puberty in Male and Female
                     Patients with Noonan Syndrome,” Pediatric Research 14:485, 1980.


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                 Van Meter, QL, et al: “Characterization of Pituitary Function in
                 Double Bolus GnRH Infusion as a Diagnostic Tool,” Pediatric Research
                 32:111, 1984.

                 Van Meter, QL, Felix, SD, Lin, FL: “Evaluation of the Pituitary-Adrenal
                 Axis in Patients Treated with nasal Beclomethasone,” (Presented at the
                 1991 Annual Meeting of the Endocrine Society and the 6th Annual Naval
                 Academic Research Competition, Bethesda, MD, 17 May, 1991).

                 Rogol AD Midyett LK Van Meter Q, Frane J, Baily J, and Bright GM,
                 Recombinant Human IGF-1 for Children with Primary IGF-1 Deficiency
                 (IGFD): Safety Data from Ongoing Clinical Trials (presented at the PAS
                 2007, Toronto).


                 Van Meter Q, Midyett LK, Deeb L et al, Prevalence of primary IGFD
                 among untreated children with short stature in a prospective, multicenter
                 study (Poster POO715) ICE Rio de Janeiro, Brazil 2008.

                 G.M. Bright1, W.V.Moore2, J.Nguyen3, G. Kletter4, B. S. Miller5, Q. L.
                 Van Meter6, E. Humphriss1, J.A. Moore7 and J.L. Cleland1 Results of a
                 Phase 1b Study of a new long-acting human growth hormone (VRS-317)
                 in pediatric growth hormone deficiency (PGHD). PAS 2014 May 2014

                 Van Meter Q, Welstead B and Low J, Characteristics of a Population of
                 Obese Children and Adolescents: Suggesting a New Paradigm, presented
                 at ESPE meeting, Dublin 2014.

                 Wayne V. Moore1, Patricia Y. Fechner2, Huong Jil Nguyen3, Quentin L.
                 Van Meter4, John S. Fuqua5 , Bradley S. Miller6, David Ng7, Eric
                 Humphriss8, R. W. Charlton8, George M. Bright8, Safety and Efficacy of
                 Somavaratan (VRS-317), a Long-Acting rhGH, in Children with Growth
                 Hormone Deficiency (GHD): 3-Year Update of the VERTICAL &
                 VISTA Trials, presented at the 2017 Endocrine Society meeting in
                 Orlando FL

                 Bradley S. Miller1, Wayne V. Moore2, Patricia Y. Fechner3, Huong Jil
                 Nguyen4, Quentin L. Van Meter5, John S. Fuqua6, David Ng7, Eric
                 Humphriss8, R. W. Charlton8, George M. Bright8, 3-Year Update of the
                 Phase 2a and Long-term Safety Studies (VERTICAL and VISTA) of
                 Somavaratan (VRS-317), a Long-acting rhGH for the Treatment of
                 Pediatric Growth Hormone Deficiency, presented at the 2017 IMPE
                 meeting in Washington D.C.




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ADDITIONAL PRESENTATIONS/LECTURES:

                 Pediatrics Update, CME Associates, San Diego – Orlando Annual
                 Conferences: Lectures on Pediatric Endocrine Subjects – 1986 – 2001.
                 Course Moderator, 1997, 1998, 1999, 2000, 2001

                 Endocrine and Gastroenterology Update, CME Associates, Maui HI
                 Nov 2001, Lecturer and Course Moderator

                 Lecture on Panhypopitutarism, Pharmacia Conference, Nashville TN
                 April 2002.

                 Family Medicine Review Course, Orlando, FL, 1992 – 2001

                 Pediatric Grand Rounds, Tanner Medical Center, October 1997

                 Pediatric Grand Rounds, Hughes Spaulding Children’s Hospital,
                 September, 2003

                 Pediatrics in the Park, Fall CME meeting for the Georgia Chapter of the
                 American Academy of Pediatrics, November 2003

                 Pediatric Grand Rounds, Columbus Regional Medical Center, January
                 2004

                 Frontiers in Pediatrics CME Course, sponsored by the Atlanta Children’s
                 Health Network, Atlanta, March 2004.

                 Pediatric Grand Rounds, Eggleston Children’s Hospital, May 2004.

                 Sue Schley Matthews Pediatric Conference, Columbus Regional Medical
                 Center, September 2004

                 56th Annual Scientific Assembly and Exhibition of the Georgia Academy
                 of Family Physicians, Nov 2004

                 Program Co-Chairman: Southern Pediatric Endocrine Society Annual
                 meeting, Nov 2004, November 2014

                 Presentations on Diabetes, Growth Failure, and Thyroid Disease to the
                 Postgraduate Pediatric Nurse Practitioner Program, Georgia State
                 University, Nov 2005, June 2006, May 2007

                 Issues in Medicine, US Medical Congress Conference and Exhibition,
                 Las Vegas, meeting planner and speaker, June, 2006

                 CME Presentations for the Georgia Chapter of the American Academy of
                 Pediatrics Spring and Fall Meetings 2004-present


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                 Pediatric Grand Rounds, Columbus Regional Medical Center, Columbus,
                 GA, 2011-present

                 Human Growth Foundation Regional CME Conference, Atlanta GA
                 March 2013, February 2014 Columbus Georgia

                 International Federation of Therapeutic Counseling Choice: Transgender
                 Medicine, IFTCC Launch, October 15, 2018 London, Third International
                 Congress, October 25 2018 Budapest.

                 Southern Pediatric Endocrine Society, Orlando FL, Feb 2019

                 Matthew Bulfin Conference, Indianapolis IN April 2019

                 CMDA annual conference, Ridgecrest NC, May 2019

                 Support 4 Family conference, London, UK June 2019

                 Audio Digest Pediatrics -  v. 41, no. 4;  v. 41, no. 20;  v. 43, no. 17

                 Audio Digest Family Practice -  v. 42, no. 5;  v. 44, no. 11;  v. 44,
                 no. 44;  v. 45, no 15

                 Audio Digest Otolaryngology -  v. 32, no. 14


CURRENT HOSPITAL APPOINTMENTS:

                 Eggleston/Scottish Rite Children’s Hospitals, active
                 staff, Pediatric Endocrinology


PAST AND CURRENT CLINICAL RESEARCH:

                 2006   Sanofi-Aventis
                        HMR1964D/3001                      study completed 2007
                 2006   Tercica MS301-                     study completed 2008
                 2007   Tercica MS310-                     study completed 2008
                 2007   Tercica MS306-                     study completed 2010
                 2007   Tercica MS316-                     study completed 2012
                 2008   EMD Serono 28358                   study completed 2009
                 2012   Versartis 12VR2                    study completed 2014
                 2012   Debiopharm 8206-CPP-301            study started July 2012
                 2013   Versartis 13 VR3                   study started Dec 2013
                 2014   Novo-Nordisk Elipse                study started 2014
                 2015   Versartis 14 VR4                   study completed 2017
                 2017   Mannkind MKC-TI-155                study completed 2019
                 2018   Abbvie M16-904                     study started 2018
                 2019   Novo-Nordisk Real-4                study started 2019
                 2019   Lilly 18B-MC-ITSB                  study started 2019
                 2021   Pfizer PROGRES                     study started 2021

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                 2021   Lumos OragrowtH210               study started July 2021
                 2022   Novo-Nordisk Real-8              study starts July 2022




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LEGAL EXPERT WITNESS:


                 2017   North Carolina Legislature- transgender bathroom bill
                 2018    Jessica Siefert transgender case, Cincinnati, OH
                 2018   Alberta, Canada school system transgender case
                 2018   Decatur GA School Board transgender case
                 2019   British Columbia transgender case
                 2019   Gavin Grimm transgender case, Gloucester County, VA
                 2019   Rowe vs Isle of Wight School Board, UK
                 2019   Younger transgender case, Dallas, TX
                 2020   Alabama State House and Senate committee hearings
                 2020   Pennsylvania State House Health Subcommittee hearings
                 2020   Iowa State House committee hearing
                 2020   California State House committee hearing
                 2020   Harris Count TX custody case
                 2021   Missouri State House committee hearing
                 2021   NAACP v State of Arkansas




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